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10                         UNITED STATES DISTRICT COURT
11                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
12   ARTURO FAVELA-GOMEZ,                  No. 2:23-cv-01773-MEMF-KES
13                    Petitioner,          RESPONDENT’S REPLY IN SUPPORT
                                           OF MOTION TO DISMISS
14                    v.                   PETITIONER’S WRIT OF HABEAS
                                           CORPUS PURSUANT TO 28 U.S.C.
15   BRYAN BIRKHOLZ, WARDEN                § 2241; DECLARATION OF BRANDON
                                           E. MARTINEZ-JONES & EXHIBITS A
16                    Respondent.          THROUGH C THERETO; DECLARATION
                                           OF PAOLA CONTRERAS & EXHIBIT A
17                                         THERETO

18        Respondent Bryan Birkholz, Warden of the Federal Correctional
19   Complex in Lompoc, California, by and through his counsel of record,
20   the United States Attorney for the Central District of California
21   and Assistant United States Attorney Brandon E. Martinez-Jones,
22   hereby files this Reply in Support of Respondent’s Motion to Dismiss
23   (“Motion”; see Dkt. 9) Petitioner Arturo Favela-Gomez’s Petition for
24   Writ of Habeas Corpus pursuant to 28. U.S.C. § 2241 (“Petition”; see
25   Dkt. 1).
26        This Reply is based on the attached memorandum of points and
27   authorities, the attached Declaration of Brandon E. Martinez-Jones
28   and accompanying exhibits, the attached Declaration of Paola

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 1   Contreras and accompanying exhibit, the Order of the Court dated May

 2   22, 2023, the files and records in this case, and such other

 3   evidence or argument as the Court may permit.

 4
     Dated: June 2, 2023                Respectfully submitted,
 5
                                        E. MARTIN ESTRADA
 6                                      United States Attorney
 7                                      MACK E. JENKINS
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 9
                                              /s/
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 1                    MEMORANDUM OF POINTS AND AUTHORITIES

 2        On May 22, 2023, the Court ordered Respondent to submit a Reply

 3   in support of his Motion to Dismiss (“Motion”) pro se Petitioner

 4   Arturo Favela-Gomez’s Petition for a Writ of Habeas Corpus under 28

 5   U.S.C. § 2241 (“Petition”) addressing the following questions:

 6   (1) what documents or evidence would Respondent and/or the Court

 7   rely on to find that Petitioner is ineligible for ETCs under 18

 8   U.S.C. § 3632(d)(4)(E) and (D)(lxvii), and is any further factual

 9   development necessary to make those findings?; (2) if Petitioner is

10   correct that he is entitled to FSA ETCs, does Respondent contest

11   that he would be entitled to 365 days, or are additional

12   computations necessary?; and (3) are there any other documents that

13   Respondent contends demonstrate that a final order of removal was

14   entered against Petitioner as of July 2018?       See Dkt. 13.

15   Respondent addresses these questions here.

16        Petitioner’s Opposition to Respondent’s Motion (see Dkts. 11,

17   12) only illustrates the importance of the exhaustion requirement in

18   the context of habeas challenges to the executions of custodial

19   sentences.   Petitioner concedes that he has failed to satisfy that

20   requirement and exposes the need for further fact-finding to resolve

21   Petitioner’s claim of entitled to First Step Act (“FSA”) Earned Time

22   Credits (“ETCs”) -- fact-finding that the Bureau of Prisons (“BOP”)

23   can and should be allowed to complete in the first instance.          On

24   that basis alone, the Petition should be dismissed.

25   I.   Further Factual Development Is Necessary to Confirm That
          Petitioner Is Ineligible to Earn or Apply ETCs
26

27        As Respondent previewed in his Motion, Petitioner is ineligible
28   to earn FSA ETCs under 18 U.S.C. § 3632(d)(4)(D)(lxvii) because the

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 1   Court that sentenced him found that he “was an organizer, leader,

 2   manager, or supervisor of others” in the commission of a drug-

 3   distribution offense, and further ineligible to apply ETCs under 18

 4   U.S.C. § 3632(d)(4)(E) because there is a final order of removal

 5   against him.   See Motion at 6-7.     As explained in further detail

 6   below, while Respondent can support this basic position through the

 7   documentation currently available to him, Respondent nonetheless

 8   needs additional documents to create a complete factual record.

 9        For example, Respondent’s position that Petitioner is

10   ineligible to earn FSA ETCs under Section 3632(d)(4)(D)(lxvii) is

11   based on the transcripts of Petitioner’s December 2015 sentencing

12   proceedings in the District of Kansas.       See Declaration of Brandon

13   E. Martinez-Jones (“Martinez-Jones Decl.”), Exs. A, B.         These

14   transcripts reflect that the Court that sentenced Petitioner for his

15   underlying conviction applied “a four-level enhancement for

16   leader/organizer” when performing its calculations under the U.S.

17   Sentencing Commission’s Guidelines Manual and that Petitioner’s

18   counsel did not object to applying that enhancement.         Id. Ex. B at

19   22-23, 7-8.    This interpretation of the transcripts is supported by

20   the Amended Presentence Investigation Report prepared in advance of

21   Petitioner’s sentencing; that report recommended that Petitioner

22   receive a four-level enhancement for being an organizer or leader of

23   a methamphetamine-distribution conspiracy.       Id. Ex. C at 46.

24   However, Respondent is also in the process of obtaining complete

25   copies of the pre-sentence submissions filed by the government and

26   Petitioner’s counsel in the case, which Respondent expects will

27   confirm that Petitioner did not object to the application of that

28   enhancement.   See id. ¶ 3.

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 1        Similarly, Respondent’s position that Petitioner is ineligible

 2   to apply any earned FSA ETCs under Section 3632(d)(4)(E) is

 3   currently based on three primary pieces of evidence:

 4        •    The Department of Homeland Security (“DHS”) Immigration

 5             Detainer dated December 13, 2016, and attached as Exhibit

 6             B to the Declaration of Yolanda Sanchez (“Sanchez Decl.”)

 7             filed with Respondent’s Motion.       This Detainer indicates

 8             that Petitioner is subject to a “final order of removal.”

 9             Sanchez Decl. ¶ 5 & Ex. B.

10        •    A separate DHS Immigration Detainer and attached as

11             Exhibit A to the Declaration of Paola Contreras

12             (“Contreras Decl.”) filed herewith.        This Detainer

13             indicates that “Deportation or removal from the United

14             States has been ordered” as to Petitioner.         Contreras

15             Decl. ¶ 3, Ex. A.

16        •    A report generated by the publicly available Automated

17             Case Information System operated by the U.S. Department of

18             Justice’s Executive Office for Immigration Review (“EOIR”)

19             reflecting that an Immigration Judge ordered Petitioner

20             removed from the United States in January 2005 and that

21             EOIR received no appeal from that order.        Martinez-Jones

22             Decl. ¶ 4, Ex. D at 2.

23   Respondent anticipates that Petitioner’s immigration records,

24   including the 2005 order of removal referenced above, will confirm

25   Petitioner’s ineligibility to earn ETCs.       But because Petitioner did

26   not fully exhaust his administrative remedies, Respondent was able

27   to obtain a copy of those immigration records from DHS storage only

28   shortly before filing this Reply on June 2, 2023.        Martinez-Jones

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 1   Decl. ¶ 5.   Because Respondent’s review of those records is ongoing,

 2   and because they are likely to contain sensitive information that

 3   may require redaction and/or filing under seal, Respondent will file

 4   Petitioner’s final order of removal and serve it on Petitioner in a

 5   forthcoming supplemental submission.      Id.

 6        The incomplete state of the administrative record is the result

 7   of Petitioner’s knowing and admitted failure to exhaust his

 8   administrative remedies.     See Motion at 6; see also Opposition at 1

 9   (conceding that the “Petition Was Not Fully Exhausted”).         Allowing

10   administrative agencies the opportunity to compile the factual

11   record and thereby prevent premature requests for judicial

12   intervention -- such as the Petition here -- is one of the

13   exhaustion requirement’s core purposes.       See Ruviwat v. Smith, 701

14   F.2d 844, 845 (9th Cir. 1983).     This Court should not reward

15   Petitioner’s attempt to short-circuit this process.         See, e.g.,

16   Phares v. Bradley, 2021 WL 3578674, at *8 (C.D. Cal. Apr. 22, 2021),

17   report and recommendation adopted, 2021 WL 5868125 (C.D. Cal. Dec.

18   8, 2021) (“Excusing Petitioner from seeking administrative review

19   would improperly encourage the deliberate refusal to comply with the

20   BOP’s administrative review process.” (citing Laing v. Ashcroft, 370

21   F.3d 994, 1000 (9th Cir. 2004)).      It should instead dismiss the

22   Petition and allow BOP to run the facts underlying Petitioner’s FSA

23   claim to ground in the normal course.

24        Indeed, Petitioner’s own Opposition confirms that the facts

25   bearing on Petitioner’s ineligibility to earn and apply ETCs are

26   hotly disputed and that Petitioner’s claims are thus unripe for

27   judicial review.   As to his immigration record, Petitioner

28   “disagrees with Respondent that there is a final Order of removal

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 1   against him,” contending, among other things, that “no . . .

 2   deportation Order has been issued by an immigration judge [that]

 3   petitioner knows of”; that a “mere Notice of Removal Order issued by

 4   DHS” is not “a final deportation order” under Section 3632(d)(4)(E);

 5   that Petitioner “anticipates to challenge his removal”; and even

 6   that “Petitioner has not been seen by an immigration judge or been

 7   in the removal proceedings.”     Opposition at 4-5.     As to his criminal

 8   sentencing, Petitioner further disputes that he is ineligible to

 9   earn ETCs under Section 3632(d)(4)(D)(lxvii), arguing that he was

10   not a “king-pin[] whom others work for” or “a leader or supervisor

11   of others”; that he “rather . . . supplied drugs to his co-

12   defendants”; and that the “Presentence Report taken in his criminal

13   case reached its conclusions based on assumptions” contrary to law.

14   Opposition at 5.   Far from showing that this is a case that

15   “presents a pure question of law” and where “an administrative

16   remedy” thus “serves no useful purpose,” as Petitioner contends

17   (Opposition at 3-4), Petitioner’s arguments demonstrate that further

18   factual development is necessary to resolve the Petition.         This is

19   thus “exactly the type of case in which exhaustion of administrative

20   remedies should be required.”     Chua Han Mow v. United States, 730

21   F.2d 1308, 1313-14 (9th Cir. 1984) (affirming dismissal of habeas

22   petition claiming entitlement to time-served credit because “[t]here

23   ha[d] not been the development of a factual record which would

24   enable this court to review the [BOP’s] decision” and the petitioner

25   “himself state[d] that there are disputed factual assertions”

26   bearing on the issue).

27        Nor is this a case where further administrative factual

28   development would be “futile,” as Petitioner continues to assert.

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 1   Opposition at 1-3.    As Respondent explained in his Motion (Motion at

 2   7-8), through its Administrative Remedy Program, Respondent will

 3   complete the administrative record; explain the factual and legal

 4   reasons for his determination that Petitioner is ineligible to earn

 5   or apply FSA ETCs; and, if the complete record discloses that

 6   Petitioner’s position is meritorious, correct any error in the

 7   execution of Petitioner’s sentence.       The incompleteness of the

 8   administrative record alone refutes Petitioner’s baseless contention

 9   that “BOP has predetermined” the outcome of the Administrative

10   Remedy Program here and that “no grievance procedure” could “change

11   the position taken by the BOP.”      Opposition at 2-3.     Respondent is

12   continuing to compile and review the full administrative record

13   precisely because it is necessary to verify whether Respondent’s

14   position on Petitioner’s ineligibility to earn or apply ETCs is

15   correct and, if it is not, permit Respondent to reverse course.          The

16   fact that Respondent has not applied the ETCs to which Petitioner

17   claims entitlement and defends that position now in this Court does

18   not show that administrative exhaustion is futile; it is instead the

19   direct consequence of Petitioner’s election to bypass the

20   administrative-exhaustion requirement and litigate his claims for

21   the first time in this Court rather than before the agency

22   responsible for administering his sentence.       The law of this circuit

23   condemns just that kind of procedural chicanery.        Laing, 370 F.3d at

24   1000 (“[T]he issue of whether relaxation of the requirement would

25   encourage the deliberate bypass of the administrative scheme is a

26   key consideration.” (internal quotation marks omitted)).

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 1   II.   The Record Compiled to Date Reflects That Petitioner Has Earned
           Zero ETCs, Not 365 Days’ Worth
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 3         Contrary to his argument (see Opposition at 3), Petitioner is

 4   not entitled to earn, let alone apply, 365 days of FSA ETCs.

 5   Because, as Respondent has explained in Part I above, Petitioner’s

 6   sentencing court found that he “was an organizer, leader, manager,

 7   or supervisor of others” in the commission of a drug-distribution

 8   offense, Petitioner is ineligible to earn FSA ETCs in the first

 9   place.   See 18 U.S.C. § 3632(d)(4)(D)(lxvii) (“A prisoner is

10   ineligible to receive time credits under this paragraph if the

11   prisoner is serving a sentence for a conviction under . . . 21

12   U.S.C. 841(b)(1) . . . , if the sentencing court finds that the

13   offender was an organizer, leader, manager, or supervisor of others

14   in the offense, as determined under the guidelines promulgated by

15   the United States Sentencing Commission” (emphasis added)).          Thus,

16   even were Petitioner not ineligible to apply any earned FSA ETCs

17   because there is a final order of removal against him, see 18 U.S.C.

18   § 3632(d)(4)(E) (“A prisoner is ineligible to apply time credits

19   under subparagraph (C) if the prisoner is the subject of a final

20   order of removal under any provision of the immigration

21   laws . . . .” (emphasis added)), Petitioner nonetheless would not

22   have earned any FSA ETCs to apply.

23         To be clear, Respondent does not dispute that, if Petitioner

24   were eligible to both earn and apply FSA ETCs -- and he is not --

25   then Petitioner would have earned, and would be eligible to apply,

26   365 days of such ETCs.    But the absence of any dispute over the

27   quantity of ETCs to which Petitioner would hypothetically be

28   entitled does not change the fact that further factual development

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 1   is necessary to resolve the antecedent, fact-bound question whether

 2   Petitioner is entitled to earn or apply ETCs at all.        Although the

 3   evidence already available to Respondent supports his position on

 4   that question, Respondent is still in the process of compiling and

 5   reviewing the full administrative record, and Petitioner continues

 6   to dispute the underlying facts.     It is thus not yet “feasible, much

 7   less appropriate, for this Court to attempt” to resolve the merits

 8   of the Petition. 1   Phares, 2021 WL 3578674, at *7.

 9   III. Respondent Only Recently Obtained Petitioner’s Immigration
          Records and Is in the Process of Reviewing Them
10

11        Again, Respondent was only able to obtain a copy of

12   Petitioner’s immigration records shortly before filing this Reply

13   and expects those records to confirm the date Petitioner was ordered

14   removed. 2   Martinez-Jones Decl. ¶ 5.    Based on a report from EOIR’s

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          1 Moreover, there is no merit to Petitioner’s suggestion that
17   exhaustion should be excused because, were 365 days of FSA ETCs
     applied to his sentence, “he would be eligible for release not later
18   than September 21, 2023.” Opposition at 3. Petitioner offers no
     evidence that BOP’s Administrative Remedy Program will not run its
19   course, and any error in the execution of Petitioner’s sentence not
     be corrected, before that date. Nor does Petitioner offer any
20   authority for the notion that a projected release date based on the
     hypothetical of a habeas petition prevailing can itself warrant
21   excusing the administrative-exhaustion requirement -- particularly
     where, as here, the Petitioner consciously disregarded the
22   exhaustion requirement to file an admittedly premature habeas
     petition.
23
          2 Paragraph 4(c) of the Sanchez Declaration submitted with
24   Respondent’s Motion stated that “Petitioner is not eligible to apply
     ETCs towards his federal sentence as he has a final order of removal
25   issued against him as of July 2, 2018.” Sanchez Decl. ¶ 4(c)
     (emphasis added). The phrase “as of July 2, 2018” was a reference
26   to a second DHS Immigration Detainer imposed against Petitioner on
     that date (separate from the December 2016 detainer attached as
27   Exhibit B to the Sanchez Declaration). A copy of that July 2, 2018,
     detainer is attached as Exhibit A to the Contreras Declaration,
28   submitted herewith.

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 1   Automated Case Information System, Respondent anticipates these

 2   materials will confirm that Petitioner is “ineligible to apply” any

 3   earned FSA ETCs under Section 3632(d)(4)(E).       Id., Ex. D at 2.     As

 4   Respondent has explained, administrative exhaustion is necessary in

 5   part to permit Respondent to review these documents, complete the

 6   administrative record, and thereby complete the development of

 7   dispositive facts bearing on the merits of Petitioner’s claims.

 8   IV.   CONCLUSION

 9         For the foregoing reasons, and for those explained in

10   Respondent’s Motion, this Court should dismiss the Petition.

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